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IN THE DISTRICT COURT OF THE UNITED STATES M AY 2 5 2005
FOR THE MIDDLE DISTRICT OF ALABAMA
EASTERN DIVISION
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ITED TATES ()F AMERICA U. S. DlSTRlCT COURT
UN S § MIDDLE DlST. OF ALA.
V' ) CR NO 3 :05CR128'T

) [18 USC 1703(a)]
CYRUS DEMETRIUS JONES )

)

) INDICTMENT
The Grand Jury charges:

@_UML

That between January 2003, and on or about February 12, 2005, in Alexander City, within
the Middle District of Alabama, the defendant,
CYRUS DEMETRIUS JONES,
then being an employee of the United States Postal Service, did unlawh,illy secrete, detain and delay
approximately 14 assorted parcels and flat mail and two bundles of bulk business mail entrusted to
him which were intended to be delivered by a carrier established by authority of the Postal Service.
All in violation of Title 18, United States Code, Section 1703(a).
A TRUE BILL:
M
C_
Foreperson 5
MQ/W_,</,

LEURA GARRETT CANARYY /
UNITED STATES ATTO

 

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Tommie Brown Hardwick
Assistant United States Attorney

